













Opinion issued October 15, 2004








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00793-CV
____________

HARRY S. PATTEN; HOUSTON LIPAR, LLC; NEVADA LIPAR, LLC;
AMERICAN LAND PARTNERS, INC.; NATIONAL LAND PARTNERS, LLC;
AND EAST TEXAS PARTNERS, LLC, Appellants

V.

THOMAS E. LIPAR; LGI DEVELOPMENT CORP.; LGI NV INTERESTS,
CORP; LGI LAND, LLC; AND LIPAR GROUP, INC. Appellees




On Appeal from the 23rd District Court
Brazoria County, Texas
Trial Court Cause No. 29469




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the cause is dismissed.  Tex. R. App.
P. 42.1(a).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Keyes, Alcala, and Hanks.


